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STATISTICAL INFORMATION ONLY: Debtor must select the number of each of the following items included in the Plan.
0 Valuation of Security    0 Assumption of Executory Contract or Unexpired Lease        0 Lien Avoidance

                                                                                              Last revised: August 1, 2020


                                  UNITED STATES BANKRUPTCY COURT
                                         District of New Jersey
In Re:      Robert DeJesus                                       Case No.:
            Diana Gonzalez
                                                                 Judge:
                                        Debtor(s)


                                      CHAPTER 13 PLAN AND MOTIONS


   Original                               Modified/Notice Required             Date:               1-25-2023
   Motions Included                       Modified/No Notice Required

                                THE DEBTOR HAS FILED FOR RELIEF UNDER
                                 CHAPTER 13 OF THE BANKRUPTCY CODE.

                                      YOUR RIGHTS MAY BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the actual
Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss them with
your attorney. Anyone who wishes to oppose any provision of this Plan or any motion included in it must file a
written objection within the time frame stated in the Notice. Your rights may be affected by this plan. Your claim
may be reduced, modified, or eliminated. This Plan may be confirmed and become binding, and included
motions may be granted without further notice or hearing, unless written objection is filed before the deadline
stated in the Notice. The Court may confirm this plan, if there are no timely filed objections, without further
notice. See Bankruptcy Rule 3015. If this plan includes motions to avoid or modify a lien, the lien avoidance or
modification may take place solely within the chapter 13 confirmation process. The plan confirmation order
alone will avoid or modify the lien. The debtor need not file a separate motion or adversary proceeding to avoid
or modify a lien based on value of the collateral or to reduce the interest rate. An affected lien creditor who
wishes to contest said treatment must file a timely objection and appear at the confirmation hearing to
prosecute same.

The following matters may be of particular importance. Debtors must check one box on each line to
state whether the plan includes each of the following items. If an item is checked as “Does Not” or if
both boxes are checked, the provision will be ineffective if set out later in the plan.


THIS PLAN:

  DOES DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS MUST
ALSO BE SET FORTH IN PART 10.

  DOES DOES NOT LIMIT THE AMOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF
COLLATERAL, WHICH MAY RESULT IN A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE
SECURED CREDITOR. SEE MOTIONS SET FORTH IN PART 7, IF ANY.

  DOES DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY
SECURITY INTEREST. SEE MOTIONS SET FORTH IN PART 7, IF ANY.
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Initial Debtor(s)' Attorney TGE             Initial Debtor:       RD             Initial Co-Debtor    DG


Part 1: Payment and Length of Plan

       a. The debtor shall pay $345.00 Monthly to the Chapter 13 Trustee, starting on February 1, 2023 for
approximately 60 months.


        b. The debtor shall make plan payments to the Trustee from the following sources:
                      Future Earnings
                      Other sources of funding (describe source, amount and date when funds are available):


        c. Use of real property to satisfy plan obligations:
                       Sale of real property
                       Description:
                       Proposed date for completion:

                        Refinance of real property:
                        Description:
                        Proposed date for completion:

                        Loan modification with respect to mortgage encumbering property:
                        Description:
                        Proposed date for completion:

        d.              The regular monthly mortgage payment will continue pending the sale, refinance or
                        loan modification.
        e.              Other information that may be important relating to the payment and length of plan:


Part 2: Adequate Protection                                   X   NONE
       a. Adequate protection payments will be made in the amount of $             to be paid to the Chapter 13
Trustee and disbursed pre-confirmation to    (creditor).

       b. Adequate protection payments will be made in the amount of $             to be paid directly by the
debtor(s) outside the Plan, pre-confirmation to: (creditor).

Part 3: Priority Claims (Including Administrative Expenses)

    a. All allowed priority claims will be paid in full unless the creditor agrees otherwise:

Creditor                                       Type of Priority                                     Amount to be Paid
McDowell Law PC                                Attorney Fees                                                $4,500.00
Sonia H. Ortiz                                 Domestic Support Obligation                      Paid outside - current
Department of Treasury - IRS                   Priority Tax Debt                                            $8,000.00




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   b. Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount:
      Check one:
         None
         The allowed priority claims listed below are based on a domestic support obligation that has been
       assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim
       pursuant to 11 U.S.C.1322(a)(4):
Creditor                   Type of Priority            Claim Amount                 Amount to be Paid

Part 4: Secured Claims


a. Curing Default and Maintaining Payments on Principal Residence:                    NONE

         The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly
obligations and the debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the
bankruptcy filing as follows:
                                                                            Interest Amount to be Paid   Regular Monthly
                                                                            Rate on     to Creditor (In Payment (Outside
Creditor                   Collateral or Type of Debt         Arrearage   Arrearage              Plan)             Plan)



b. Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears:
           NONE

The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations
and the debtor will pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy
filing as follows:
                                                                            Interest Amount to be Paid   Regular Monthly
                                                                            Rate on     to Creditor (In Payment (Outside
Creditor                   Collateral or Type of Debt         Arrearage   Arrearage              Plan)             Plan)



c. Secured claims excluded from 11 U.S.C. 506:          NONE

The following claims were either incurred within 910 days before the petition date and are secured by a
purchase money security interest in a motor vehicle acquired for the personal use of the debtor(s), or incurred
within one year of the petition date and secured by a purchase money security interest in any other thing of
value:
                                                                                          Total to be Paid through the Plan
                                                                          Amount of           Including Interest Calculation
Name of Creditor           Collateral                       Interest Rate    Claim




 d. Requests for valuation of security, Cram-down, Strip Off & Interest Rate Adjustments                     NONE

        1.) The debtor values collateral as indicated below. If the claim may be modified under Section
1322(b)(2), the secured creditor shall be paid the amount listed as the “Value of the Creditor Interest in
Collateral,” plus interest as stated. The portion of any allowed claim that exceeds that value shall be treated
as an unsecured claim. If a secured claim is identified as having “NO VALUE” it shall be treated as an
unsecured claim.

                        NOTE: A modification under this section ALSO REQUIRES
                      the appropriate motion to be filed under Section 7 of the Plan.

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                                                                                               Value of
                                                                      Total                    Creditor      Annual Total
                                               Scheduled         Collateral        Superior   Interest in   Interest Amount to
Creditor              Collateral                    Debt             Value           Liens    Collateral       Rate Be Paid




       2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the
allowed secured claim shall discharge the corresponding lien.


e. Surrender NONE
        Upon confirmation, the stay is terminated as to surrendered collateral only under 11 U.S.C. 362(a) and
that the stay under 11 U.S.C 1301 be terminated in all respects. The Debtor surrenders the following
collateral:
Creditor                            Collateral to be Surrendered                   Value of Surrendered     Remaining Unsecured
                                                                                              Collateral                   Debt




f. Secured Claims Unaffected by the Plan              NONE

              The following secured claims are unaffected by the Plan:
Creditor
Cardinal Finance Co/Dovenmuehle Mtg. - 1st mortgage - 126 Westbrook Drive, Swedesboro NJ 08085
Toyota Financial Services - 2019 Toyota Rav4 XLE
Westlake Portfolio Management, LLC - 2015 Jeep Cherokee

g. Secured Claims to be Paid in Full Through the Plan                   NONE
Creditor                                 Collateral                                       Total Amount to be Paid through the Plan



Part 5: Unsecured Claims              NONE

           a. Not separately classified allowed non-priority unsecured claims shall be paid:
                        Not less than $     to be distributed pro rata

                         Not less than      percent

                         Pro Rata distribution from any remaining funds

           b. Separately classified unsecured claims shall be treated as follows:
Creditor                            Basis for Separate Classification         Treatment                         Amount to be Paid


Part 6: Executory Contracts and Unexpired Leases                        X   NONE

       (NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may prevent assumption of
non-residential real property leases in this Plan.)

       All executory contracts and unexpired leases, not previously rejected by operation of law, are rejected,
except the following, which are assumed:


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Creditor            Arrears to be Cured in        Nature of Contract or Lease     Treatment by Debtor            Post-Petition Payment
                    Plan


Part 7: Motions                NONE

NOTE: All plans containing motions must be served on all affected lienholders, together with local
form, Notice of Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J. LBR
3015-1. A Certification of Service, Notice of Chapter 13 Plan Transmittal and valuation must be filed
with the Clerk of Court when the plan and transmittal notice are served.


           a. Motion to Avoid Liens under 11 U.S.C. Section 522(f). NONE
           The Debtor moves to avoid the following liens that impair exemptions:

                                                                                                           Sum of All
                                                                                           Amount of      Other Liens
                  Nature of                                                Value of          Claimed      Against the Amount of Lien
Creditor          Collateral       Type of Lien      Amount of Lien       Collateral       Exemption         Property to be Avoided

           b. Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured.
NONE

       The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral
consistent with Part 4 above:


                                                                                                   Value of
                                                                                                   Creditor's             Total Amount of
                                               Scheduled       Total Collateral                    Interest in                  Lien to be
Creditor            Collateral                 Debt            Value            Superior Liens     Collateral                Reclassified


        c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and
Partially Unsecured.     NONE

        The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and
to void liens on collateral consistent with Part 4 above:

                                                                                                                           Amount to be
                                                            Total Collateral           Amount to be Deemed                Reclassified as
Creditor            Collateral               Scheduled Debt Value                                   Secured                   Unsecured




Part 8: Other Plan Provisions
       a. Vesting of Property of the Estate
              Upon Confirmation
              Upon Discharge

      b. Payment Notices
      Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or
coupons to the Debtor notwithstanding the automatic stay.


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        c. Order of Distribution

        The Standing Trustee shall pay allowed claims in the following order:
               1)   Ch. 13 Standing Trustee Commissions
               2)   Other Administrative Claims
               3)   Secured Claims
               4)   Lease Arrearages
               5)   Priority Claims
               6)   General Unsecured Claims


        d. Post-Petition Claims

       The Standing Trustee is, is not authorized to pay post-petition claims filed pursuant to 11 U.S.C.
Section 1305(a) in the amount filed by the post-petition claimant.


Part 9: Modification       X   NONE

NOTE: Modification of a plan does not require that a separate motion be filed. A modified plan must
be served in accordance with D.N.J. LBR 3015-2.

       If this Plan modifies a Plan previously filed in this case, complete the information below.
       Date of Plan being modified:        .
Explain below why the plan is being modified:                Explain below how the plan is being modified:


Are Schedules I and J being filed simultaneously with this Modified Plan?           Yes              No

Part 10 : Non-Standard Provision(s): Signatures Required
       Non-Standard Provisions Requiring Separate Signatures:
          NONE
          Explain here:
       Any non-standard provisions placed elsewhere in this plan are ineffective.

Signatures

The Debtor(s) and the attorney for the Debtor(s), if any, must sign this Plan.

By signing and filing this document, the debtor(s), if not represented by an attorney, or the attorney for the
debtor(s) certify that the wording and order of the provisions in this Chapter 13 Plan are identical to Local Form,
Chapter 13 Plan and Motions, other than any non-standard provisions included in Part 10.

I certify under penalty of perjury that the above is true.

Date: January 25, 2023                                  /s/ Robert DeJesus
                                                        Robert DeJesus
                                                        Debtor

Date: January 25, 2023                                  /s/ Diana Gonzalez
                                                        Diana Gonzalez
                                                        Joint Debtor

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Date   January 25, 2023                     /s/ Thomas G. Egner, Esq.
                                            Thomas G. Egner, Esq.
                                            Attorney for the Debtor(s)




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